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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.3
                                 Eastern Division

John Scatchell
                                        Plaintiff,
v.                                                         Case No.: 1:18−cv−03989
                                                           Honorable John F. Kness
Village of Melrose Park, et al.
                                        Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Monday, August 17, 2020:


         MINUTE entry before the Honorable John F. Kness: Plaintiff's motion for leave to
file a second amended complaint [74] is denied without prejudice. In the motion, Plaintiff
has failed to comply with the Court's motions policy, which in relevant part states that
"each motion must indicate whether it is agreed or opposed." If the motion is opposed,
counsel "are directed to confer and attempt to reach agreement on a proposed schedule.
Following that conference, the moving party must propose a briefing schedule in the
motion or by email to proposed_order_kness@ilnd.uscourts.gov." Although the relevant
docket entry suggests that the motion is opposed, the motion itself is silent as to whether it
is agreed or opposed. Plaintiff has also failed to state whether the required conferral
regarding a briefing schedule occurred, and the Court is not aware of having received a
proposed briefing schedule. Plaintiff is directed to review the Court's motions policy,
which is available on Judge Kness's webpage, and to take the required actions before
refiling the motion for leave to amend. Mailed notice (ags)




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